Case 2:05-cr-20028-SH|\/| Document 19 Filed 05/23/05 Page 1 of 2 Page|D 11

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
UNITED STATES OF AMERlCA
V. Cr. No. 05-20028-Ma
DENNIS DAE

ORDER SPECIFYING PERIOD OF
DELAY EXCLUDABLE UNDER SPEEDY TRIAL ACT

Counsel for the defendant has this day notified the Court that the defendant is undergoing a
mental evaluation to determine his competency to Stand trial. Pursuant to the Speedy Trial Act, as

Set out in 18 U.S.C. § 316l(h)(1)(A), a defendant may be granted a period of excludable delay While

undergoing a mental evaluation

IT IS THEREFORE ORDERED that the time period of May 18, 2005 through June 15, 2005,
be excluded from the time limits imposed by the Speedy Trial Act for trial of this case, While the
defendant is undergoing a mental evaluation

The arraignment is RESET for Wednesday, 06/15/05 at 10:00 a.m. before Magistrate

Judge Tu Pham.

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UNITED STATES MAGISTRATE .TUDGE

DATE; mmi POI, 2003"

This document entered on the docket sheet in compliance

with Rule 55 and/or 32(b) FRCrP on

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DRISTIC COURT - WEERN DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20028 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

